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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NEW YORK

  ------------------------------------------------------------------------------------------------------
  Albert E. Percy and Percy Jobs and Careers Corporation an
  IRC 501(c)(3) non-profit, as Class Representatives,
                          Class Plaintiff,
  -against-                                                       COMPLAINT
                                                                  CASE No. 20-cv-06131-NG


  F & E Maintenance Inc, F & F Roofing Co, F & S General Construction Inc., F C Sturtevant Co, F
  Chau & Assoc LLP, F D R Svc Corp, F I Electric, F M Brush Co Inc, F X Fowle Architects, F&T
  Group, F. Schumacher and Co., F.I. Electrical Corp, Fab-Con Machinery Devmnt Corp, Fabiani
  Cohen & Hall LLP, Fabric Resources Ltd, Factory 360, Factory Pr LLC, Facts On File, Inc.,
  Faculty Practice Assoc, Fader, Fagenson & Puglisi, Fahrenheit 212 LLC, Fair Way Plbg & Htg-
  Cooling, Faircom New York, Fairdinkum Consulting, Fairfax & Sammons Architects, Fairfield
  Refrigeration and Cooling Equi, Faith Construction Inc, Faithful+Gould, Inc., Falcon Electrical
  Contracting Corp, Falcone's Cookie Land Ltd, Falconhead Capital, LLC, Falidas Associates,
  Fames Chocolate, Families On The Move Of Nyc, Inc., Family & Salute Magazines, Family and
  Children's Assn, Family Care Certified Services Of Nassau, Family Center For Autism, Family
  Health Assoc, Family Health Ctr Ntwrk-Luth, Family Home Improvement Corp, Family Medical
  Practice, Family Residence, Family Services Network Of New York, Fancy Foods Inc, Fanning
  Electric Co Inc, Far Rockaway Treatment Ctr, Farenga Brothers Funeral Hm, Farfield Co,
  Farkouh Furman & Faccio, Farley Sales Installations Inc, Farmingdale Senior High School,
  Farragut Builders Ii Inc., Farrand Control Div, Farrell Fritz Pc, Fashion Avenue News Magazine,
  Fashion Institute Of Technolog, Fashion Market Magazine Group, Fat Cat, Fathom
  Communications, Fauna Food Corp, Faust Goetz Schenker Blee LLP, Favorite Plastics, Fax On
  File, Faxa Inc., Fay Kaplun & Marcin LLP, Fazio Construction, Faztec Industries Inc, Fcb
  Worldwide, Inc., Fcs Group LLC, Fda, Fdm Group, Inc., Fedcap, Feder Kaszovitz LLP, Federal
  Aviation Admin, Federal Defender Of New York, Federal Defenders, Federal Express
  Corporation, Federal Home Loan Bank Of New York, Federal Reserve, Federal Yellow Book,
  Fedex Corporation, Fegs, Feinstein Iron Works Inc, Felix Storch Inc, Feminist Press, Fenestra
  America LLC, Fensterstock & Partners LLP, Fenway Golf Club Inc, Ferber Chan Esner & Coller,
  Ferguson & Shamamian Archt, Ferrara Bakery & Cafe, Ferraro & Wyatt, Ferrell Calvillo
  Communication, Ferro Kuba Mangano Skylyar Pc, Ferrod Associates Inc, Fetal Evaluation,
  Fetner Properties, Fgi Corp, Fgph Corp, Fhi 360, Fiberall Corp, Fiberwave Technologies, Fiction
  Magazine, Fidelis Care, Fidelis Contracting, Inc., Fidelus Technologies, Fiducial, Fiduciary Trust
  Company Intern, Fiedler Co Inc, Fiedlis Contracting Inc., Field Library, Field Thomas, Fieldston
  Clothes Inc, Fieldstone Lodge, Fieldvision Services Inc, Fiera Capital Inc., Fifth Avenue
  Counseling Ctr, Fifth Avenue Digital, Fig Press, Figliulo & Partners, Filco Carting Corp., File
  Stream Inc, Film Movement LLC, Film Payroll Svc, Film Rise, Fin & Brew, Final Cut Usa, Final




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  Frame, Final Push Construction Inc, Finance, Financial Clinic The, Financial Information
  Forum, Financial Press Corp, Finback Brewery, Fine Communications, Fine Sheer Industries
  Inc, Fine Star Electric, Finest Air Inc, Finish Line Collision Inc, Finishing Trade, Finivation
  Software, Finn Partners, Inc., Finsbury Solutions, Finsoft Consultants, Fire Alarm Electrical
  Corp, Fire Hydrant Parts Brooklyn, Ny, Firmenich Inc, Firmenich Incorporated, First American
  International Bank, First Amern Title Ins Co Of Ny, First Class Management Co, First
  Construction Group, First Data Corporation, First Derivatives Us Inc, First Eagle Investment
  Management, LLC, First Hand, First Investors Corp, First Medcare, First Medical Immediate
  Med Cr, First Protocol Inc, First Quality Enterprises Inc, First Response Advantage Inc, First
  Run Features, First Spice Mixing Co, First Spring Corporation, First Standard Construction,
  First Star Automotive, First2print, Fischer & Makooi Architects, Fischer Bros, Fisher Marantz
  Stone Inc, Fit Pregnancy Magazine, Fitapelli & Schaffer LLP Nyc, Fitch Group, Inc., Fitzgerald &
  Fitzgerald, Fitzgerald Cantor Brokerage Lp, Fitzpatrick Cella Et Al, Five A Incentive Planners
  Inc, Five Boroughs Brewing, Five O'clock Club, Five Star Contracting Companies Inc, Five Star
  Electric, Five Star Products Inc, Fj Sciame Construction, Fja, Fjc Security Services, Flaggstaff
  Technology Group Inc, Flagship Brewing Co, Flagship One Inc, Flash Electronics Inc, Flashpoint
  Medica, Flat Iron Hotel, Flatbush Development Corp, Flaxmove Moving Co, Fleet Wash,
  Fleetwood Lock Co Inc, Fleurchem Inc, Flex Construction, Flicker Garelick & Assoc, Flight Path,
  Flint & Steel, Flintlock Construction Svc LLC, Floating Hospital Inc, Floracon LLC, Florence E
  Smith, Florida Safety Contractors Inc., Flushing Asphalt, Flushing Bank, Flushing Commons
  LLC, Flushing Hospital Medical Center, Flushing Savings Bank, Fm Office Express, Fmc
  Engineering, P.C., Fmcp, Fna Engineering Services, P.C., Focus Construction Group, Focus
  Group, Fogarty Finger Architecture Interiors, Fojp Service Corp., Foley and Lardner, Foley Inc,
  Folia, Fong & Wong Pc, Fong Inn Too, Food Bank For New York City, Foodmatch, Foong & Mak,
  Foot Locker, Foothold Technology, Forchelli Curto Deegan, Ford and Harrison, Ford
  Foundation, Ford Models Inc, Fordham Marble Co Inc, Fordham University, Foreht Last
  Landau-Katz Attys, Foresight Theatrical LLC, Forest City Ratner Companies, LLC, Forest Hills
  Financial, Group., Forest Hills Orthopedic Group, Forest Laboratories Inc, Forest View Nursing
  Home Inc, Forestdale, Formed Plastics Inc, Formica Construction Co Inc, Formula Public
  Relations, Formulated Solutions LLC, Forrest Solutions Inc, Forrester Fence Co Inc., Forsman
  & Bodenfors, Forsythe Cosmetic Group Ltd, Forsythe Cosmetic Group, Ltd., Forsythe Plumbing
  & Heating Corp, Fort Cica Roofing & Gen Contrs, Fort Greene Senior Council, Fort Schuyler
  House Inc, Fort Tryon Overlook Property Owner LLC, Fort Tyron Nursing Home, Forte
  Construction Corp, Forte Remodeling Inc, Fortis Property Group, Fortress Investment Group
  LLC, Forum Personnel, Fos Development Corp, Foster + Partners, Foto-Care Ltd, Fotopoulos
  Rosenblatt & Green, Foundation For Research-Sex, Fountain House Inc, Four Seasons Dialysis
  Ctr, Four Seasons Hotel New York, Four Star General Cleaning Svc, Four Tribes Construction
  Services, LLC, Four Winds Hospital, Foursquare Labs, Inc., Fourth Floor Fashion, Fourth Street
  Inn LLC, Fox Horan & Camerini, Fox News Network, LLC, Foxy Machine, Fpa Billing Dept,
  Fporter Recovery Services, Fps Contracting Inc, Framan Mechanical Inc, Frame Store, Francis
  Levien Gymnasium, Franciscan Community Ctr, Franco Belli Plumbing & Heating, Frank M




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  Debono Construction, Frankel Associates, Franklin & Lennon Paint Co, Franklin Immediate,
  Franklin Templeton Investments, Franklin Weinrib Rudell-Vssll, Frank's Home Improvement,
  Fratello Construction Company, Frauscher Sensor Tech. Usa Inc., Frazer and Feldman LLP,
  Frbny, Fred Alger Management Inc, Fred Smith Plumbing & Heating, Fredante Construction,
  Freddys Home Improvement, Frederick Wildman and Sons, Free Country, Free Hill Hogan &
  Mahar, Freedman and Co, Cpa, Pc, Freelance Recruiter, Freeport Screen & Stamping Inc,
  Freidman & James, Frekhtman & Assoc, French & Casey LLP, French Mission To Un, French
  Sole Comfort, Frenco Architectual Metal, Frendel Brown & Weissman, Frenkel Benefits, LLC,
  Frenkel Herschkowitz-Shafran, Fresh Air Fund, Fresh Meadow Country Club, Fresh Meadow
  Electrical Contractors , LLC, Fresh Meadow Mechanical Corp., Freshdirect, Fried, Frank, Harris,
  Shriver and Jacobs, Friedland Properties Inc, Friedman & Anspach, Friedman Kaplan, Friedman
  LLP, Friedman Management Corp, Friedwald Ctr For Rehab and Nursing, LLC, Friends
  Academy, Friends Of The High Line Inc, Friends Of The Queensway, Frigid Solutions, Frog
  Design Inc, Frontier Kemper Construction Inc, Frontier Soloutions Inc, Fross, Zelnick, Lehrman,
  and Zissu Pc, Fs, Fsg Electric, Fsi Architechtural, Fti Consulting (Sc), Inc., Fudge Foundation,
  Fujifilm U.S.A, Inc., Fulcrum Group, Full Circle Construction, Full Picture, Full Service
  Contracting Inc, Fulton Commons Care Ctr LLC, Fulton Rowe & Hart, Funaro Co, Fund E-Z
  Development Corp, Funfest Ny, Fung's Construction Inc, Funtime Amusements Inc, Furey Furey
  Leverage Manzione, Furman Kornfeld & Brennan, Furniture Rental Assoc Inc, Fusco
  Brandenstein & Rada, Fusebox Inc, Fusion Telecomm Intl, Inc., Future Star Day Camps, Future
  Tech Consultants Inc, Fx Collaborative, Fxcm Inc., Fxfowle Architects, G & F.A.S.T. Electric
  Incorporated, G & M Mechanical Inc, G G Engineering, G M, G M Major Holding Inc, G R Reid
  Assoc LLP, G4s Secure Integration LLC, Ga Fleet Assoc., Gabbe Group, Gabe Construction Corp,
  Gabellini Sheppard Assoc LLP, Gabriels Technology Solutions, Gabsy Hotel, Gace Consulting,
  Gair Gair Conason Rubinowitz, Gal Manufacturing Corp, Gala, Galaxy General Contracting
  Corp, Gallery 57 Dental LLC, Gallery System Inc, Gallet Dreyer & Berkey LLP, Gallivant Times
  Square, Gallo Vitucci Klar, Galvin Bros. , Inc/Madhue Contracting, Inc. Jv, Gamco Corp, Game
  Sportswear Ltd, Gandhi Consulting Engrs-Archt, Ganer & Ganer LLC, Ganfer Shore Law Office,
  Gannon Vitolo Contracting LLC, Garage Management Corp, Garan Incorporated, Garden Care
  Ctr, Garden City Country Club, Garden City Dermatology Pc, Garden City Dialysis, Garden City
  Group, LLC, Garden City Hotel, Garden City Park Water/Fire District, Garden City Pool, Garden
  City Surgery Ctr, Garden Of Eden Home For Adults, Gardiner and Theobald, Inc., Garfunkel
  Wild & Travis, Garganigo Goldsmith & Weiss, Garland Publishing, Garrison Institute, Garrison
  Properties LLC, Garrity Graham Murphy Garofalo, Gartner & Bloom, Gary B Pillersdorf Law
  Offices, Gary Plastics Packaging Corp, Gary S Mayerson & Assoc, Gary Tsirelman Law Office,
  Gas Turbine Controls, Gaskets R Us, Gasper Accardi, Gastonwhite, Gastrointestinal Associates,
  Gate Hotel Jfk Airport, Gateway Arms Realty Corp., Gateway Demo/Civil Corp., Gateway School
  Of New York, Gatti Industries Ii Inc, Gazebo Contracting Inc., Gbg Usa Inc., Gccom Cons. Co.,
  In, Gcs Computers Inc, Gcs Software LLC, Gdc Properties LLC, Gdhd, Gds Development, Gell &
  Gell, Geller and Company LLC, Gem Hotel, Gem Quality Corporation, Gemco Restorations,
  Gemini Security Services, Gem-Quality Corpporation, Gemveto Co Inc, Gener8 Maritime, Inc.,




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  General Atlantic LLC, General Bearing Corp, General Construction Corp, General Electrical
  Contracting, General Fireproof Door Inc, General Foundries Inc, General Human Outreach Inc,
  General Refinery, General Services Administration (Gsa), Generation Ready Inc., Genesis
  Architectural, Genesis Design & Construction, Geneva Worldwide Inc, Gennus Corp, Genpact
  Limited, Genpak LLC, Genrus Corp, Gensler, Gentile Pismeny and Brengal LLP, Genuine
  Construction, Geodesign Inc, Geodesign Inc., Geoffrey D Menin Pc, Geomatrix Services Inc,
  George A Fuller Co Inc, George Auto Rental Corp, George Breslaw & Sons, George Little
  Management, George Weiss Inc, Geotechnical Engineering Services, P.C., Geotext Translations
  Inc, Geppetto Group, Gerald & Lawrence Blumberg, Gerald Karikari Pc Law Ofc, Gerald W Lynch
  Theater At John, Gerber Life Insurance Company, Gerety Building & Restoration, Gerindustries
  Gerindustries, Gerlach Frames Inc, Gerner Kronick-Valcarcel Archt, Gersh Agency Ny Inc,
  Gershbaum & Weisz Pc, Gerson Lehrman Group Inc, Gersowitz Libo & Korek Pc, Gerstman LLC,
  Getinge Usa Sales LLC, Getman & Sweeney PLLC, Gettry Marcus, Gf55 Partners, Gfi Capital
  Resources Group Inc, Gfk, Gfl, Ghostery Inc., Ghwa, Gi Energy, Giachetti Plumbing, Gianfia
  Corp, Giansia New Hampton, Ny, Giant Magazine, Giants Engineering, Gibbons Esposito &
  Boyce Engrs, Gibney Anthony Flaherty Law, Gibney Dance, Gibney, Anthony and Flaherty,
  Gibraltar Transmissions, Gifts Software Inc, Gig-Werks, Gilbane Building Company, Gil-Bar
  Industries, Gilbride Tusa Last & Spellane, Gilder Gagnon Howe and Co, Gillman Consulting Inc,
  Gilloco Construction Inc, Gilmartin Poster & Shafto LLP, Gilsanz Murray Stefick LLP, Gilston
  Electrical Contracting, Gin Lane Media, Giordano Builders, Giorgio Armani Corporation, Giraldi
  Media, Girl Be Heard, Girl Scouts Of The Usa, Girls Write Now Inc, Glacier Films, Gladding
  Mcbean, Gladstein Reif & Meginniss, Glassbox Digital, Glassesusa LLC, Glen Cove Hospital,
  Glen Cove Mansion Hotel-Cnfrnc, Glen Head Country Club, Glen Oaks Village Owners Inc,
  Glengariff Corp, Glenhaven Organization, Glenman Construction, Glenwood Mason Supply Co
  Inc, Glickman Engineering, Glissen Chemical Co Inc, Glm Security & Sound, Global Advertising
  Strategies, Global Bmu LLC, Global Brands Group, Global Capital Advisors LLC, Global Carpet
  & Upholstery, Global Credit Svc Inc, Global Deposition Svc Inc, Global Electrical Contracting,
  Global Equipment Company Inc., Global Holdings Management Group, Global Industries,
  Global Kids, Inc., Global Liquid Markets, Global Medical Transcription, Global Pediatrics P C,
  Global Sales Ltd, Global Sourcing & Design, Global Strategy Group LLC, Global Technology,
  Global Vision Magazine, Global Vision Mktng & Design, Global X Management Co LLC, Glocap,
  Gluck+ Architecture, Gluckman Mayner, Gm Data Communications Inc., Gmj Contracting,
  Gmp, LLC, Go! New York, Gocard, Godinger Silver Art Co Ltd, Godiva Chocolatier Inc, Godosky
  & Gentile Pc, Godwin Inc, Gogorilla Media, Gogotech, Goidel & Siegel LLP, Gold Crest Care Ctr,
  Gold Service Movers Inc, Gold Start Electrical Inc, Goldberg & Lindenberg Pc, Goldberg Segalla,
  Goldberg Weprin & Ustin, Goldberger Co, Goldcrest Post Productions, Golden Care, Golden
  Chocolate Inc, Golden Krust Caribbean Bakery Inc., Golden Oldies Ltd, Golden Rothschild
  Spagnola Pc, Golden Touch Imports, Inc., Goldengate Nurses, Goldenhearts Elderly Care
  Services, Goldfarb & Fleece, Goldfarb Abrandt Salzman, Goldfarb Properties, Goldfinger &
  Lassar Iwyrs, Goldilocks Films, Goldin Capital Management Lp, Goldman & Young Group,
  Goldman Copeland Assoc, Goldstein & Co, Goldstein & Greenlaw, Goldstein & Lee P C, Goldstein




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  Rikon Rikon, Goldstein Siegel-Herman Md Pc, Golenbock Eiseman Assor Bell, Golf Club Of
  Purchase, Golf Pro Delivered, Golfer Mag, Gombert Industries Inc, Good, Good Shepherd
  Services, Goodkind Group LLC, Goodmart, LLC., Google, Gorayeb & Assoc, Gordon H Smith
  Corp, Gordon Herlands, Gorlick Kravitz & Lishaus Pc, Goshow Architects, Goss & Goss Custom
  Metal, Gotham, Gotham Co Inc, Gotham Consulting Partners LLC, Gotham Hotel, Gotham
  Organization, Gotham Per Diem Inc, Gotham Soccer League, Gotham Technical Training Corp,
  Gotham Yellow LLC, Gould Paper Corporation, Gourmet Boutique, L.L.C., Gouverneur
  Healthcare Services, Government, Gowanus Expressway Project, Gpi - Greenman-Pedersen Inc,
  Gpm Lawn Sprinkler Parts, Grace Community Church, Grace Engineering, Grace Industries Inc,
  Grace Institute, Grace Lutheran Pre-School, Grace Plaza Nurse & Rehab Ctr, Grace Plaza Of
  Great Neck Inc, Gracepoint Gospel Fellowship, Graciano Corp, Grade Architects, Gradient,
  Grado Labs Inc, Graduate Center Foundation, Inc., Grady Levkov and Company Inc, Grady S
  Cold Brew, Graham Windham, Gramercy Cardiac Diagnostic, Gramercy Group Inc, Gramercy
  Jewelry Mfg Inc, Gramercy Mri-Diagnostic Rdlgy, Gramercy Park Physicians, Gramercy Surgery
  Ctr, Grammercy, Grand Basket Co Inc, Grand Builder Contracting Inc, Grand Central
  Neighborhood, Grand Hyatt New York, Grand Manor Nurse & Rehab Ctr, Grand Mechanical
  Corp, Grand Mini Mart, Grand Prix New York, Grand Street Guild Hdfc LLC, Grandma Moses
  Properties Co, Granite Construction Northeast Inc, Granoff Walker & Forlenza, Grant &
  Eisenhofer Pa, Graphic Management Partners, Graphic Systems Group, Graphic Visions Group,
  Graphite Metallizing Corp, Graubard Miller, Gravitas Technology, Gray Krauss, Graystone
  Construction Manag, Great American Restoration Svc, Great Atlantic Construction Spe LLC,
  Great Construction & Renovation, Great Eastern Energy, Great Eastern Maintenance Svc, Great
  Eastern Metals, Great Forest, Great Jones Spa, Great Neck Medical Group, Great Neck
  Obstetrics, Great Neck Saw Mfrs Inc, Great Small Works Inc, Greater Hudson Bank, Greater
  New York Mutual Insura, Greater Ny Endoscopy Surgical, Greater Ridgewood Youth Council,
  Greater Talent Network Inc, Greater Than One Inc, Greco Roman Design Corp, Greeley &
  Hansen Engineers, Green Asphalt, Green Builders Group Ny Corp., Green Chimneys Childrens
  Services Inc., Green Field Construction Group, Green Island Group Corp., Green Key Temp LLC,
  Green Ny Corp, Green Pro Cleaning Mntnc Inc, Greenacres Press Inc, Greenberg Kirshenbaum
  Inc, Greenberg Trager & Herbst, Greenburgh 11 Union Free School District, Greenburgh Health
  Ctr, Greencard Pictures LLC, Greenfield Industries, Inc., Greenfield Stein & Senior, Greenman
  Pedersen Inc., Greenstein & Millbauer LLP, Greenway Products & Svc LLC, Greenwich House,
  Greg Beeche Logistic LLC, Gregory Hotel New York, Gregory M Longworth & Assoc, Gregory P
  Joseph Law Ofc LLC, Grenadier Corp, Gretel Inc, Grey & Grey LLC, Greymart Metal Co,
  Greystar, Greystone and Co, Inc., Gridspan Corporation, Griffin Dewatering N.E., LLC, Griffon
  Associates, Grimm Artisanal Ales, Grimshaw Architect Pc, Grindstone Brewing Co LLC, Grok,
  Grosvenor Realty Group LLC, Groton Partners, Grotto Plumbing, Groundwater Press Assoc,
  Group Health Dental, Group Iii Inc, Group J Inc, Groupm Worldwide, Inc., Grove Press Editorial
  Pblcty, Grownyc, Growth Products LLC, Grp Financial Services, Gruber Palumberi Fried Raffale,
  Gruzen Samton LLP, Gryphon Construction, Gs Humane Corp, Gse Worldwide, Gsi Systems, Gtl
  Construction LLC, Gts Construction Corp, Gtx Construction Associates, Corp., Guaranteed




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  Home Impro, Guard Management Svc Co, Guardian Consulting Svc Inc, Guardian Life,
  Guardian Service Industries, Guardsman, Guardsman Elevators, Guercio & Guercio Law Offices,
  Guggenheim Partners, Guidepoint Global, LLC, Guilford Publications Inc, Gulotta Law Group
  LLC, Gungho Associates Inc, Gupton Marrs, Gurri Inc, Gusrae Kaplan Bruno Nusbaum, Gust,
  Gustav Restoration LLC, Guth Deconzo Consulting Eng, Gutman Mintz Baker-Sonnenfeld, Guy
  Brewer Dialysis Ctr, Guy Nordenson & Assoc, Gwathmey Siegel Kaufman-Assoc, Gwec Leasing
  Corp, Gwertzman Lefkowitz Smith, Gwy, Gyro New York, Gza Geo Environmental Of Ny, H & E
  Equipment, H & L Contracting LLC, H and M Hennes and Mauritz L. P., H Architecture, H
  Brothers The Wash, H F Management Svc LLC, H J Kalikow & Co LLC, H Klein & Sons Inc, H L
  Large Corp, H M Hughes Co Inc, H R Sourcing Solutions, H. Davis Associates Inc., Haber Group,
  Habib American Bank, Hach & Rose LLP, Hagedorn Communications, Hahn & Hessen LLP,
  Hailey Development Group, Hain Celestial, Haitian Centers Council Inc, Hakim Organization,
  Haks, Hal, Halcyon Business Publications Inc, Halcyon Construction Corp, Haley & Aldrich Of
  New York, Hall and Partners Usa LLC, Halmar Construction, Halo Media LLC, Halperin
  Battaglia Raicht LLP, Halstead, Halstead Quinn Propane, Inc, Hamilton Madison House,
  Hammill Obrien Croutier, Hampden Engineering Corporation, Hampshire Country Club,
  Hampshire Hotels Mgmt LLC, Hampshire House, Hampton Popcorn Co, Hampton Sheet
  Magazine, Hanac Inc, Hancock Law Firm, Hand Baldachin & Amburgey LLP, Hand Held Films,
  Handel Architects LLP, Hannum Feretic Prendergast and Merlino,, Han-Padron Assoc LLP,
  Hanweck Associates, Har Maspeth Corp, Hara Partners, Harbor Child Care, Harbor Seafood,
  Harbour Mechanical Corp, Harco Construction, Hardesty & Hanover LLP, Hardscrabble Cider,
  Hargraves Mcconnell & Costigan, Harlem Children's Zone, Inc., Harlem Commonwealth
  Council, Harlem East Life, Harlem Health Ctr, Harlequin Magazines Inc, Harm Reduction
  Coalition, Harman Contracting Inc, Harmon Ophthalmology, Harmony Services Inc, Harold
  Ober Assoc Inc, Harper Collins Publisher, Harpers Magazine, Harriet Campell Inc, Harris Miller
  Miller & Hanson, Harrison and Star LLC, Harrison New York Real Estate, Harry Brainum, Harry
  Joseph & Assoc, Harry Walker Agency Inc, Hart Howerton, Hartsdale Imaging, Hartsdale
  Medical Group Div, Hartwell Industries, Harvard Club Of Ny City, Harvard Maintenance Inc,
  Hasc Center, Hasc Dandt Center, Hatch Mott Macdonald, Hatchet Design Build, Haug Partners
  LLP, Hauser Communications, Haven Caldwell Md, Haven Rooftop @ The Sanctuary, Haver
  Analytics Inc, Havkins Rosenfeld Ritzert, Hawk Drilling Co Inc, Hawkins International,
  Haworth Coleman & Gerstman LLC, Hayes Pump Inc., Haym Solomon Nursing Home,
  Haymarket Media, Inc., Hayward Finesse Lic, Hazel Tree Fund Svc, Hazen & Sawyer Corp Hq,
  Hbc Company Inc, Hca In Medicine, Hdr, Hdr (Henningson Durham & Richardson), Hdr Inc,
  Headcquarter Mechanical Inc, Health & Educational Equipment Corp, Health Care, Health Care
  Chaplaincy Inc, Health Care Navigator, Health First Inc, Health Insurance Plan-Greater, Health
  Plan Of America, Health Plus Management, LLC, Health Products Corp, Health Resources
  Optimization, Health Science Ctr-Cont Med Ed, Health Watch Lifeline Inc, Healthcare 21
  Communications, Healthcare Associates In, Healthcare Choices, Ny, Inc., Healthcare Partners
  New York, Healthfirst, Healthi Nation, Healthpass, Healthplex Inc, Healthwise Associates,LLC,
  Hearst Corp, Hearst Holdings Inc, Heart Of Chelsea Animal Hosp, Heartbeat Experts, Heartland




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  Brewery LLC, Heartshare Human Services Of New York, Heartwood Corp, Heathcote Medical
  Assoc, Heatherwick Studio, Heatherwood, Heavy Construction Co, Heavy Construction
  Company, Hebrew Home, Hecht Kleeger & Damashek Pc, Hefti, Heiberger & Assoc Pc, Heights
  Woodworking, Heineken Usa Incorporated, Heinemann Murk-Hein Md Office, Helbraun Levey,
  Helen Hayes Hospital, Helen Keller Svc, Helene Fuld College Of Nursing, Hellenic Times
  Scholarship Fnd, Heller Horowitz & Feit, Hellman Construction, Hellman Electric Corporation,
  Help Homeless Svc Corp, Help Support Ctr, Help Usa, Help/Psi Inc, Helwig Henderson
  Lamagna-Gray, Hematology Oncology Assoc, Hempstead Golf Club Inc, Hempstead Highway
  Dept, Hempstead Public Library, Hempstead Public Schools, Hempstead Turnpike Dental Supl,
  Henegan Construction Company, Inc., Henick Lane Inc, Henry B Hucles Nursing Home, Henry
  J Carter Spclty Hosptl and Nursing, Henry Street Settlement, Herald Square Dental & Denture,
  Herald Square Hotel, Herbert Construction Co Inc, Herbert Selzer Law Office, Herbert Smith
  Freehills Ny, Herbs Towing Svc, Heritage Equity Partners, Heritage Hotel New York City,
  Herrick, Feinstein LLP, Hershels, Hertz Electric LLC., Hertz Herson & Co LLP, Hesa Brokerage
  Inc, Heso Electrical Inc, Hetrick Martin Institute Inc, Hewlett Oil Svc Inc, Hewlett Radiology
  Ctr, Hexagon Construction & Electrical Group, Inc., Hga Quest, Hhcs Inc, Hibu, Hicksville
  Machine Works Corp, Hidamari Engineering Services Pc, High Concrete Group LLC, High Field
  Gardens, High Line Hotel, High Quality Video Inc, High Ridge House, High Rise Fire, High Volt
  Electric Corp. Of America, Highbridge Capital Management, LLC, Highland Associates,
  Highland Care Ctr, Highline Stages, Hill & Moin LLP, Hill Betts & Nash LLP, Hill International,
  Hill Street Residence, Hill West Architects, HiLLCrest Radiology Assoc Pc, Hiller Pc, Hillside
  Internal & Geriatrics, Hillside Manor, Hilt Construction Inc., Hilton Inn Corporate Office
  Headquarters, Hima Group, Himmelstein Mcconnell Gribben, Hines, Hirani Engineering-Land,
  Hire Counsel, Hirschen Singer Epstein, Hiscox Inc., Hispanic Counseling Center, Hispanic
  Federation, Historic Hudson Valley, History Channel, Hitachi America Ltd, Hi-Tech Air
  Conditioning Service, Hi-Tech Metals Inc, Hitek Building Renovations, Hi-Tek Data Corp,
  Hitemco Inc, Hiv Bureau, Hi-Way Safety Systems, Inc. New York, Ny, Hjt & More Ink, Hlw
  International LLP, Hmla Group Inc, Hms Productions Inc, Hntb Corporation, Hntb Engineers
  Architects Pc, Hny Ferry LLC, Hobbs Inc, Hoberman Lesser, Hoffinger Firm, Hoffman & Roth
  LLP, Hoffmann & Baron LLP, Hofheimer Gartlir & Gross LLP, Hofmann & Schweitzer, Hogg
  Robinson Usa LLC, Hok Inc, Holbrook Pipe Supply Inc, Holiday House Inc, Holland and Knight
  LLP, Hollow Brook Golf Club, Hollwich Kushner Architecture (Hwkn), Holm & Drath, Holm
  Ohara LLP, Holt Construction, Holwell Shuster and Goldberg, LLP, Holy Comforter Field Home,
  Holyoke Fittings Inc, Home Abstract Corp, Home Depot, Home For The Aged Blind, Home
  Helpers Of Westchester, Homeland Movers, Homeric Contracting Company, Homesite
  Insurance, Homestead Editorial Inc, Hometeam Technologies Inc, Honey Construction Ny Inc,
  Honolulu Magazine, Honor Construction Inc, Honors Bridge Ctr, Hooligan, Hope Center, Hope
  Community Inc, Hopeton Care, Hopkins Center Nursing Ctr, Hopp Co Inc, Hopson
  Development Holdings, Horace Mann School, Horing Welikson-Rosen Law Firm, Horizon Care
  Ctr, Horizon Engineering, Horizon Healthcare Staffing, Horowitz & Ullman, Horse Power
  Electric, Hoskie Trading Inc, Hospice Of New York, Hospital, Hospital For Joint Diseases,




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       Hospital For Special Surgery, Hospitality Design, Hospitality Ebusiness, H-O-T Drill Screws,
       Hotel @ New York City, Hotel @ Times Square, Hotel 50 Bowery, Hotel At 5th Avenue, Hotel
       Beacon Nyc, Hotel Boutique At Grand Cntrl, Hotel Caribe, Hotel Cliff, Hotel Copy Ctr Inc, Hotel
       Edison, Hotel Elysee, Hotel Franconia, Hotel Giraffe, Hotel Internet Strategies, Hotel
       Manhattan Bridge, Hotel Metro, Hotel Mulberry, Hotel Newton, Hotel On Rivington, Hotel
       Reservation, Hotel Riu Plaza Ny Times Sq, Hotel Riverside, Hotel Shocard, Hotel Three O Nine,
       Hotel Wales, Hotels Ab, House Of Adjustments, House Of Code Inc, House Of Spices, Housing
       and Services, Inc., Howard Hughes Corporation, Howard I Shapiro & Assoc, Howard Needles
       Tammen & Bergendoff, Howell, Hq Capital, Hr and A Advisors, Inc., Hr Consulting, Hr Process,
       Hr2 Consultants, Hra, Hrd, Hrm Engineering Pc, Hse Contractors, Hsh Nordbank Ag, Hsm
       Americas, Inc., Hss, Hub Home Improvements, Hub Truck Rental Corp, Huddled Masses,
       Hudson Bay Fund Lp, Hudson Companies Inc., Hudson Fusion, Hudson Guild, Hudson Health
       Plan, Hudson Hills Golf Course, Hudson Meridian Construction Corp, Hudson River Healthcare,
       Hudson River Park Trust, Hudson Scenic Studio, Hudson Software Corp, Hudson Technologies
       Inc H Q, Hudson Valley Bank, Hudson Valley Blood Svc, Hudson Valley Cardiology Group,
       Hudson Valley Hospital Center, Hugh O'kane Electric, Hugh Wood Inc, Hughes Drywall
       Construction, Hughes Hubbard and Reed LLP, Huicatao Corp, Hullstrung and Dilillo Physical,
       Human Condition Safety Inc, Human Development Svc-Wstchstr, Human Music & Sound
       Design, Human Rights First, Humanscale Corporation, Humble Chic Ny LLC, Hundred Year
       Assn, Hunkamania Male Dancers, Hunter Aerospace Inc, Hunter Ambulette-Ambulance, Inc,
       Hunter College-Research Admin, Hunter Douglas Inc., Hunter Roberts Construction Group,
       Hunter Sportsplex, Hunts Point Multi Svc, Hurlburt Heating Plumbing & Electric, Hush, Huson
       International Media, Hutton Solomon, Huxley Associates, Hvb America Inc, Hvb Construction
       Inc, Hyatt Hotels/Grand Hyatt New York, Hyatt Leader Ltd, Hydro-Marine Construcion
       Company, Inc., Hydronic Concepts, Hylan Datacom & Electrical Inc, Hyperlink Inc, Hypo
       Vereins Bank, Hytorc,
                                               Employer Class Defendant.
       -----------------------------------------------------------------------------------------------------


              The Plaintiffs, ALBERT E. PERCY and Percy Jobs and Careers Corporation an IRC
       501(c)(3) non-profit, as Class Representatives, by their attorney James M. Kernan of the Kernan
       Professional Group, LLP, states as follows:
                        FACTS AND GROUNDS FOR CAUSES FOR ACTION
1.     This is a class action by persons who are ready, willing and able to work for the businesses
       represented by industry leaders, industry leaders identified by Don & Bradstreet by Standard
       Industrial Classification ("SIC") and North American Industrial Classification System (NAICS")
       classification codes, as defendant class representative industry leaders fairly and vigorously able
       to represent the interests of the Employer Class Defendant to defend this Class Action.




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2.      This action involves liability of the Employer Class Defendant for unlawful employment practices
        of discrimination based on Plaintiffs’ ability to meet their burden of production and persuasion
        proving that Plaintiffs demonstrated that there was a less discriminatory alternative method of
        employment practice (“Alternative Employment Practice”).
3.      The Plaintiffs have demonstrated an alternative employment practice ("Alternative Employment
        Practice") to the Employer Class Defendant, members of which have refused to adopt the
        Alternative Employment Practice after demonstration to persuade as defined and 42 U.S.C.
        2000d. Such refusal to adopt is an illegal employment practice under 42 U.S.C. 2000 e-2.
4.      The Plaintiffs made the demonstration in accordance with the law as it existed on June 4, 1989
        with respect to an Alternative Employment Practice, described in subparagraph (C) referred to
        by subparagraph (A)(ii) of 42 U.S.C. § 2000e-2(k)(1). The Defendant respondent has refused to
        adopt such Alternative Employment Practice without valid justification, violating 42 U.S.C. §
        2000e-2 of the Civil Rights Act of 1964 as amended in 1991.
5.      This Alternative Employment Practice was developed as a private solution after New York State
        failure of Governors Executive Order 45, which was the settlement provided to the Percy Class
        in settlement of Percy v. Brennan.
6.      The members of the Defendant Class as identified herein have failed to identify an overriding
        business purpose for their current employment practices which have a more disparate impact
        on the Percy Class of black and Spanish surnamed persons, failing to justify the continuation of
        current employment practices that do not adopt the Alternative Employment Practice.
7.      Failure to have an overriding business purpose for not adopting the Alternative Employment
        Practice entitles the Percy Class to injunctive and declaratory relief compelling adoption of the
        Alternative Employment Practice by all members of the Defendant Class that received a
        demonstration of the Alternative Employment Practice but failed and refuse to adopt it.
8.      This action by the Class Plaintiff is to enforce the benefit of the Alternative Employment Practice
        demonstrated to the industry leaders to persuade the members of the Employer Class Defendant
        to adopt the Alternative Employment Practice defined in related Case at (Complaint Case 21-cv-
        01421 Document #1) at paragraphs 656-629 as the Percy Program, also set forth at Case 21-cv-
        01421, Document #6 Attachment #22,.
9.      In addition, this action is for breach of contract brought by the Percy Class as third-party
        beneficiaries for violating conditions of contracts, including but not limited to Presidential
        Executive Order 11246 (“EO 11246”), document #6, attachment 21 in EDNY Case No. 21-cv-
        001421-BMC.and Governor’s New York State Executive Order 45 (9 NYCRR 3.45), document
        #6, attachment 14 in EDNY Case No. 21-cv-001421.
10.     Plaintiff will prove by statistical evidence warranting equitable relief by injunction or declaratory
        judgment against each Defendant individually and as members of the Employer Class
        Defendant, relief to redress violations of constitutional and civil rights of the Class Plaintiff as
        proven at the time of trial of this action.




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Precedent, Authority and Jurisdiction
11.    This action is grounded on the record in US SDNY Case 73-cv-04279, the case file archived as
       potentially of national significance in St. Louis, Missouri, the case file returned from St. Louis to
       the National Archives in New York City, returned upon the request on behalf of Plaintiffs, and
       certified by the National Archives to the United States District Court for the Southern District of
       New York, which record was then filed by ECF as the Docket on Appeal to the United States
       Second Circuit Court of Appeals 17-2273.
12.    A lead action (Complaint Case 21-cv-01421 Document #1) has been filed in the US Federal Court
       for the Eastern District of New York against the State of New York and others for failure of
       settlement involving New York State Executive Order 45 (9 NYCRR 3.45),(“EO 45”) document
       #6, attachment 14 in EDNY Case No. 21-cv-001421. That action is grounded upon the final and
       enforceable Memorandum/Order (“Memorandum/Order”) of Judge Lasker reported at 384 F
       Supp 800 of November 8, 1974, document #6, attachment 3 in EDNY Case No. 21-cv-001421,
       settled by agreement accepting Defendant New York State’s offer of EO 45. The problem is that
       EO 45, document #6, attachment 14 in EDNY Case No. 21-cv-001421, failed and the Percy Class
       was never notified of the failure - Governor of the State of New York offered a settlement of Percy
       v. Brennan in case 73-cv-04279 that is unenforceable, paragraphs 528-553 of (Complaint Case
       21-cv-01421 Document #1.
13.    Liability is for violation of 42 U.S.C. §§2000e-2, rights secured to the Percy Class as the
       Complaining Party, liability of the Employer Defendants under the 5th and 14th Amendments to
       the United States Constitution, 42 U.S.C. §§§§ 2000e-2, 1981, 1983, 1985, and United States EO
       11246, document #6, attachment 21 in EDNY Case No. 21-cv-001421, for breach of contract
       where such Employer Defendants have breached contractual conditions requiring compliance
       with EO 11246, document #6, attachment 21 in EDNY Case No. 21-cv-001421, by failing to
       affirmatively provide equal employment opportunity to members of the Percy Class as third-
       party beneficiaries to contracts with Employer Defendants, contracts funded from federal
       funding requiring compliance with the Civil Rights Act, regulations, laws and US constitutional
       provisions recited in EO 11246, document #6, attachment 21 in EDNY Case No. 21-cv-001421.
       Members of the Percy Class are beneficiaries specifically identified in contracts as conditions
       and obligations where Federal Funding is involved. These conditions of contracts specify
       compliance with EO 11246. document #6, attachment 21 in EDNY Case No. 21-cv-001421
14.    The Alternative Employment Practice under the Civil Rights Act of 1964, and specifically 42
       USCA §2000e-2 and §2000d as amended in 1991 (the “Civil Rights Act”), is delivered with
       workers’ compensation coverage. All employment is required to be covered by workers'
       compensation. Along with the payment of benefits to cover injury and death while on-the-job as
       required in under New York Workers' Compensation Law §10, workers' compensation coverage
       also includes safety training and loss control management.
15.    Using workers' compensation coverage as the delivery method for the Alternative Employment
       Practice to provide apprenticeship for new hires and continuing education for existing




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       employees, the practice provides skills to educate workers to competently and safely perform
       work, protect themselves and people with whom they come into contact. Too long employees
       have struggled without being provided the skills necessary to protect themselves and the
       communities they serve, including the general public with whom they come in contact.
16.    The Percy Program established apprenticeship programs as an Alternative Employment Practice
       to be provided with workers' compensation insurance coverage as part of safety management
       and loss control. All employment is covered by workers’ compensation insurance. The
       Alternative Employment Practice set forth at (Complaint Case 21-cv-01421 Document #1) the
       Alternative Employment Practice at paragraphs 656-629 as the Percy Program, also set forth at
       Case 21-cv-01421 Document #6 Attachment #22, incorporates apprentice training into the
       workers’ compensation loss control and safety training of employees, by enrolling new entrants
       to the workforce to work alongside existing journeypersons, growing the depth of skilled
       workers, skilled workers whose ranks are being diminished through age and attrition. The
       workers' compensation carrier subsidizes the apprenticeship programs by recognizing the
       savings in reduction of losses which reduces the exposures and liabilities of the claims required
       to be paid by the workers' compensation insurance carrier. The Alternative Employment Practice
       is delivered as a function of safety and loss control management with workers’ compensation
       through paid on-the-job apprentice training and continuing education involving apprentice
       training under the Fitzgerald Act (29 U.S.C. §50 commonly known as the National
       Apprenticeship Act of 1937, section 1 (29 U.S.C. 50) under U.S. Department of Labor's Bureau
       of Apprenticeship and Training (BAT) and C.F.R. T. 29, Subt. A, Pt. 29 and Pt. 30, made a part
       of workers' compensation coverage required of all employment.
17.    Although the employers are not named in the original Percy v. Brennan case, Case 73-cv-04279.
       reported at 384 F Supp 800 of November 8, 1974, document #6, attachment 3 in EDNY Case
       No. 21-cv-001421, the Employers Defendants in fact are required to provide real affirmative
       action.
18.    The Percy Class has been constantly denied access to apprenticeship to gain skills to compete for
       employment, entitling the Percy Class to actual damages for lost wages, for lost opportunity
       compensation, damages also affecting members of the Percy Classes’ children and families,
       significantly disadvantaged in education and skills, struggling to get a job.
                                                  VENUE
19.    The basis of the venue in the United States Federal Court for the Eastern District of New York is
       because a substantial part of the events giving rise to the claims made herein occurred in the
       Eastern District of New York, Albert E. Percy resides in the Eastern District of New York, and
       Plaintiff Percy Class is predominately situated in the Eastern District of New York.
                                                 PARTIES
Plaintiffs:




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20.    Plaintiff Albert E. Percy, (“Percy”) certified as the class representative of the certified class by
       Judge Lasker in the Memorandum/Order at 384 F Supp 800, page 811, [S.D.N.Y. 1974] in Case
       73-cv-04279, and at document #6, attachment 3 in EDNY Case No. 21-cv-001421, the Class
       certified in Percy v. Brennan, Federal District Court SDNY Case 73-cv-04279, reported at 384 F.
       Supp 800, at Page 808, docketed in US 2nd Circuit Court of Appeals appeal No. 17-2273 Docket
       #97 page 0003 and Docket #99 page 640, and document #6, attachment 3 in EDNY Case No.
       21-cv-001421 (the “Percy Class”) is fully capable of learning to perform and/or performing
       skilled occupations as apprentices and journeypersons. Percy, as the Complaining Party, a
       member of the Percy Class, was denied equal employment opportunities, and remains a proper
       representative of the Percy Class. Percy’s personal and business interests and the claims
       hereinafter set forth are fully aligned with those of the Class.
21.    Standing was found by the Lasker Court in its Memorandum/Order stating the Percy Class has
       alleged “such a personal stake in the outcome of the controversy as to assure that concrete
       adverseness which sharpens the presentation of issues upon which the court so largely depends
       for illumination of difficult constitutional questions” citing “Baker v Carr, 369 US 186,(1962) 82
       S Ct 691, 7 L Ed 2d 663, document #6, attachment #6, in EDNY Case No. 21-cv-001421 (see Flast
       v Cohen, 392 US 83, (1968), 88 S Ct 1942, 20 L Ed 2d 947 (1968))” document #6, attachment
       #7, EDNY Case No. 21-cv-001421. In Percy v. Brennan, black and Spanish-surnamed workers
       were alleged to “have been and continue to be denied employment in the New York construction
       industry, demonstrating the Percy Class continues to have a personal stake”, 384 F Supp 800,
       page 808 [S.D.N.Y. 1974], document #6, attachment 3 in EDNY Case No. 21-cv-001421, and 17-
       2273, Docket #99, Appendix 1, Volume 3, page 684.
22.    The Memorandum/Order of Judge Lasker in the Percy Action, Percy v. Brennan, 384 F. Supp.
       800, (S.D.N.Y. 1974), document #6, attachment 3 in EDNY Case No. 21-cv-001421, page 811 in
       17-2273, Docket #99, Appendix 1, Volume 3, page 660, granted Plaintiffs motion to be
       maintained as a class and found standing to seek relief for the enforcement of EO 11246,
       document #6, attachment 21 in EDNY Case No. 21-cv-001421 as a class of persons that EO 11246,
       document #6, attachment 21 in EDNY Case No. 21-cv-001421-BMC was designed to protect from
       injuries resulting from racial discrimination within the protections of the Fifth and Fourteenth
       Amendments to the Constitution, 42 USC 1981, and has met the requirements of subdivisions 2
       and 3 of FRCP 23. See also, Docket #99, Appendix 1, Volume 3, page 653 in 2nd Circuit Appeal
       17-2273.
23.    The Class defined and certified by Judge Lasker in Case 73-cv-04279 was “all black and Spanish-
       surnamed persons who are capable of performing, or capable of learning to perform,
       construction work, and who wish to perform construction work within the jurisdiction of unions
       that are members of the Defendant Building and Construction Trades Council of Greater New
       York” with Plaintiff Albert Percy designated as the Class Representative (384 F Supp 800, at
       page 811, document #6, attachment 3 in EDNY Case No. 21-cv-001421, and 17-2273, Docket #99,
       Appendix 1, Volume 3, Page 660).




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24.    The Order certifying the Class in Case 73-cv-04279 is at 384 F. Supp. 800, (S.D.N.Y. 1974),
       document #6, attachment 3 in EDNY Case No. 21-cv-001421 and 17-2273 Docket 97, Appendix
       1, Volume 3 of 3, page 640
25.    Plaintiff Percy Jobs and Careers Corporation is an Internal Revenue Code 501(c)(3) non-profit
       managing apprentice training at the Maritime College State University Of New York, PO Box
       351, 6 Pennyfield Ave, Bronx, NY 10465.
Defendants:
26.    Defendants are named individually and as representatives of a class of employers (“Employer
       Defendants”) to which the Plaintiff has demonstrated an alternative employment practice
       ("Alternative Employment Practice"). The Defendants are industry leaders identified as class
       representatives with the expectation that those industry leaders will protect the interests of the
       Class, being employers to which the Plaintiff demonstrated the Alternative Employment Practice
       in an effort by the Plaintiff to persuade the specifically identified Employer Defendants which
       number 8,773 as set forth on Attachment #1.
                                               NUMEROSITY
27.    The number of members of the Percy Class are essentially unenumerable but are not
       indeterminate as certified in the Percy v. Brennan action Case 73-cv-04279 being enforced here.
28.    The Class defined and certified by Judge Lasker, as all black and Spanish surnamed persons
       residing in and about the City of New York is an extremely large class. To identify the Class, Percy
       counsel has caused to be sent out long overdue Notices of Settlement as Notices of Enforcement
       of the Settlement of Percy v. Brennan Case 73-cv-04279. Included in the mailing the Alternative
       Employment Practice demonstrated to and urged that the Employer Defendants adopt. This
       identification will provide specificity as to the members of the Percy Class entitled to relief.
                                COMMON ISSUES OF LAW AND FACT
29.    The issues of law and fact determining the claims of the Percy Class, that the Employers
       Defendants named in this action, have caused, are causing, and will continue to cause serious,
       permanent and irreparable economic and social injury and damage to the Percy Class, are
       common to all members of the Class.
30.    The common issues of law and fact must be determined in order to fashion an appropriate
       equitable remedy and provide relief for the benefit of the Percy Class.
                                          JUDICIAL ECONOMY
31.    This action avoids the prosecution of separate actions by multiplicity of actions involving the
       same individual members of the Percy Class and the same Owners which would create a
       likelihood of inconsistent or varying adjudications with respect to individual members of the
       Percy Class.
32.    The Percy Class has been denied and deprived of an opportunity to compete effectively within
       the American free enterprise system and as a result the members of the Percy Class have



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       sustained serious and ongoing damages, that if the wrongdoing of the Defendants is not enjoined
       and prevented, chronic damage will continue unabated.
                              AS AND FOR A FIRST CAUSE OF ACTION
33.    The Plaintiffs repeat and reiterate the allegations set forth above as though fully set forth herein.
34.    The Percy Program (paragraphs 241 – 274, paragraphs 275 – 276, and paragraph 275 – 280 of
       (Complaint Case 21-cv-01421 Document #1), presented as the Alternative Employment Practice,
       is delivered as a function of safety and training with workers’ compensation under the covered
       payroll. The Percy Program is an Alternative Employment Practice, an element of a workers’
       compensation coverage. Apprenticeship is a function of safety training and loss control
       management of workers’ compensation insurance, apprentices recruited and sponsored through
       employment or provided through a subcontract with apprentice training under the National
       Apprenticeship Act of 1937 occurring by three methods: (1) coordinated with joint
       apprenticeship labor-management counsel involving unions, (2) by sponsorship by an employer,
       or (3) by sponsorship by a trade association.
35.    All employment is required to be covered by workers' compensation. Along with the payment of
       benefits to cover injury and death while on-the-job as required in under New York Workers'
       Compensation Law §10, this Alternative Employment Practice of apprentice training is covered
       as part of workers’ compensation coverage as registered apprenticeship with risk-management,
       safety training and loss control.
36.    The Plaintiff is able to meet its burden of production and persuasion proving that there was a
       less discriminatory alternative method of employment practice available that the Employer
       Defendants could have adopted, failing to adopt the Alternative Employment Practice without
       valid justification is an unlawful employment practice violating 42 U.S.C. § 2000e-2(k)(1)(A)(ii)
       and (k)(1)(C) of the Civil Rights Act of 1964 as amended in 1991.
37.    The Alternative Employment Practice answers the need for the Percy Class to obtain competitive
       skills by utilizing registered apprenticeship meeting the requirements of the Fitzgerald Act (29
       U.S.C. § 50 commonly known as the National Apprenticeship Act of 1937, section 1 (29 U.S.C.
       50) under U.S. Department of Labor's Office of Apprenticeship and Training (BAT) and 29 C.F.R,
       Subt. A, Pt. 29 and Pt. 30. Apprenticeship is the process of learning a skilled occupation through
       both on-the-job training (practical, paid experience) and learning the related technical
       knowledge in a classroom. Candidates must be 18 years old and possess a GED (the Alternative
       Employment Practice will help a candidate obtain a GED). Enrollment must be done openly
       under the procedures established by federal and state regulations for Minimum Qualifications
       Review and Eligibility List Ranking using for: educational achievement, work experience,
       seniority, job aptitude, oral interview, and general demographic inquiries to determine a score
       for ranking for eligibility to be enrolled in OJT and continuing education.
38.    Plaintiff Percy and the Class he represents are entitled to injunctive relief as demanded and
       actual damages for lost wages, for lost opportunity and compensation as money damages for the




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       families of the members of the Percy Class, their children growing up in poverty, significantly
       disadvantaged in education and skills, struggling to get a job, entitled to compensation as money
       damages to be determined at trial in this litigation.
39.    The members of the Percy Class have been and are ready, willing and able to work, persistently
       wanting to work, but have been constantly deprived and denied work, damaging the members of
       the Percy Class, and damaging the families of the members of the Percy Class, their children
       growing up in poverty, significantly disadvantaged in education and skills, struggling to get a
       job, in an amount to be determined at trial.
                            AS AND FOR A SECOND CAUSE OF ACTION
40.    Upon information and belief, Defendant has accepted Federal funding containing conditions of
       compliance with Civil Rights Act of 1964 and EO 11246, document #6, attachment 21 in EDNY
       Case No. 21-cv-001421-BMC.
41.    Government Agencies set forth in Complaint Case 21-cv-01421 Document #1 are charged with
       enforcing EO 11246, document #6, attachment 21 in EDNY Case No. 21-cv-001421-BMC and
       laws as contractual conditions to Federal Funds for public work facilities, and are therefore liable
       for the foregoing lost wages, lost benefits and lost opportunity to which the Percy Class is entitled
       as intended beneficiaries.
42.     EO 11246, document #6, attachment 21 in EDNY Case No. 21-cv-001421-BMC seeks to
       implement the anti-discrimination program of the Civil Rights Act of 1964 and is directed at all
       government contractors. Section 2 02(1) of the Order provides: “The contractor will take
       affirmative action to ensure equal employment opportunity. Such action shall include but not be
       limited to the following: employment upgrading, demotion or transfer; recruitment or
       recruitment advertising; layoff or termination; rates of pay or other forms of compensation; and
       selection for training, including apprenticeship”, 30 Fed. Reg. 12, 319 (1965), the "color blind"
       approach envisioned in EO 11246, document #6, attachment 21 in EDNY Case No. 21-cv-
       001421-BMC, §202(1) of EO 11246, document #6, attachment 21 in EDNY Case No. 21-cv-
       001421-BMC, 30 Fed. Reg. 12, 319(1965), provides that: The contractor will not discriminate
       against any employee or applicant for employment because of race, color, religion, sex, or
       national origin. The contractor will take affirmative action to ensure that applicants are
       employed, and that employees are treated during employment, without regard to their race,
       color, religion, sex, or national origin. Such action shall include but not be limited to the
       following: employment upgrading, demotion or transfer; recruitment or recruitment
       advertising; layoff or termination; rates of pay or other forms of compensation; and selection for
       training, including apprenticeship.
43.    The necessary elements of a prima facie cause of action for violation of 42 U.S.C. §2000e-2 exists,
       depriving rights thereunder, secured to the Percy Class as the Complaining Party by the 5th and
       14th Amendments to the United States Constitution, 42 U.S.C. §§§ 1981, 1983, 1985, and such
       employer has breached contractual conditions requiring compliance with EO 11246, document
       #6, attachment 21 in EDNY Case No. 21-cv-001421-BMC).




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44.    The Employer Defendants and the Class of Defendant Employers have ignored the mandate of
       EO 11246, document #6, attachment 21 in EDNY Case No. 21-cv-001421-BMC, as well as several
       other federal regulations specifically identified in the contract, causing and continuing to cause
       disparate impact discrimination that these statutes, orders, and regulations were designed to
       remedy.
45.    Plaintiff Percy and the Class he represents are entitled to injunctive relief and actual damages
       for lost wages, for lost opportunity and compensation as money damages for the families of the
       members of the Percy Class, their children growing up in poverty, significantly disadvantaged in
       education and skills, struggling to get a job, entitled to compensation as money damages to be
       determined at trial in this litigation.
                                                       RELIEF
       Plaintiffs collectively pray that this Court:
       On the First Cause of Action, injunctive and declaratory relief compelling adoption of the
       Alternative Employment Practice by all members of the Defendant Class that received a
       demonstration of the Alternative Employment Practice, have failed to identify an overriding
       business purpose for their current employment practices which have a more disparate impact
       on the Percy Class of black and Spanish surnamed persons to justify the continuation of current
       employment practices that do not adopt the Alternative Employment Practice, and damages
       must be stopped and rectified;
       On the Second Cause of Action, award Plaintiffs actual damages for lost wages and benefits and
       lost opportunity damages to the Percy Class and damaging the families of the members of the
       Percy Class, their children growing up in poverty, significantly disadvantaged in education and
       skills, struggling to get a job, in an amount to be determined at trial;
       Award Plaintiffs liquidated damages to be determined;
       Award Plaintiffs pre- and post-judgment interest at the statutory rate;
       Award Plaintiffs attorneys' fees, expert fees, costs, and disbursements;
       Award Plaintiffs further and additional relief as this Court deems just and proper; and
       Treating this as a Private Attorney General Action under 42 U.S.C. 1988 insofar as may be
       necessary to provide the relief requested in this Complaint together with reimbursement of
       attorney fees, expert fees, costs and disbursements;
       All together with such other and further relief as shall seem just and proper under the
       circumstances.
       Pursuant to Fed. R. Civ. P. 39, demand is made for trial by jury on all the issues so
       triable.
       Dated: April 20, 2021
                                                        /s/James M. Kernan__



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